892 F.2d 1050
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Richard W. JEFFERS, Petitioner,v.VETERANS ADMINISTRATION, Respondent.
    No. 89-3314.
    United States Court of Appeals, Federal Circuit.
    Dec. 8, 1989.Rehearing Denied Jan. 5, 1990.Suggestion for Rehearing In Banc Declined Jan. 18, 1990.
    
      (BISSELL and MAYER, Circuit Judges, CHARLES R. NORGLE, Sr., District Judge*:
      Judgment
      PER CURIAM:
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Charles R. Norgle, Sr., District Judge, United States District Court for the Northern District of Illinois, sitting by designation
      
    
    